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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                         )
                                                 )
              v.                                 )                  No. 1:21-cr-00041–01-JL
                                                 )
IAN FREEMAN                                      )
                                                 )


                      UNITED STATES’ OBJECTION TO
              DEFENDANT’S MOTION TO REVOKE DETENTION ODER

       United State Magistrate Judge Johnstone’s 17-page order correctly held that

there are no conditions or combination of conditions of release that will reasonably assure the

appearance of the defendant and the safety of any other person and the community. See ECF No.

40. This Court should affirm the judge's detention order.

       Ian Freeman is a sophisticated criminal. For years, Freeman ran an unlawful multi-

million dollar business converting US dollars into cryptocurrency by making false and

misleading statements to banks and virtual currency exchanges, and employing and instructing

others to do so on his behalf. By obscuring the nature of his business, Freeman was able to

operate without detection from the banks and avoid governmental registration requirements. The

anonymity his business provided to his customers attracted hordes of cyber criminals that used

his services to convert proceeds of romance scams, investment scams, and your-friend-is in jail

scams, among others. In emails and recorded conversations in the government's possession,

Freeman made no secret that he knew that fraudsters used his service for this purpose or that he

needed to make misrepresentations to banks to conceal his scheme. Freeman's knowledge about

the nefarious use that others made of his service is also demonstrated by the substantially higher

fees that Freeman charged for bitcoin purchases compared to legitimate bitcoin exchanges,
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which register with the government and follow anti-money laundering rules in an effort to avoid

having scammers use their services to wash their fraud proceeds.

       Freeman has profited mightily from this business and has assets which he failed to

disclose to the probation office. In this regard, he claimed a total of $60,000 in a bank account,

when the evidence shows that in excess of $10 million in bitcoin trades ran through his accounts

for which he charged, on average, ten percent commissions. The disclosures that he made to

probation about assets simply do not make sense. This, along with the substantial penalties he

faces, including a ten-year mandatory minimum prison sentence and maximum of life, and his

prior history of obstructing government activities make him a risk of nonappearance at court

proceedings. In addition, were Freeman to be released and continue to engage in this business,

his facilitation of exchanging virtual currency for fraudsters places many victims at risk of

financial harm.

       I.      Standard of Review – Appeal of Detention Order

       A district court reviewing a magistrate judge’s order denying a motion to reconsider

pretrial detention must “engage in de novo review of the contested order.” United States v.

Tortora, 922 F.2d 880, 884 n. 4 (1st Cir. 1990); see also United States v. Perozzi, No. 09-cr-117-

16-SM, 2009 WL 2929292, at *2 (D.N.H. Sept. 9, 2009) (conducting de novo review of

magistrate judge’s detention order). The Bail Reform Act authorizes courts to detain a criminal

defendant upon finding that “no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of any other person and the community.”

18 U.S.C. § 3142(e). In making its bail determination, courts are required to consider

information regarding: (1) the nature and circumstances of the offense charged, (2) the weight of

the evidence, (3) the history and characteristics of the defendant, and (4) the nature and
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seriousness of the danger to any other person or the community that would be posed by the

defendant’s release. 18 U.S.C. § 3142(g). The government bears the burden of demonstrating

dangerousness by clear and convincing evidence and must support a finding of risk of flight by a

preponderance of the evidence. United States v. Johnson, 12-mj-01-01-LM, 2012 WL 40463, at

*2 (D.N.H. Jan. 6, 2012). A finding of either risk of flight or danger is sufficient for detention.

See, e.g., United States v. Ferranti, 66 F.3d 540, 543-44 (2d Cir. 1995).

       II.      The defendant poses a risk of flight and danger to the community that cannot
                be mitigated with conditions.

       The defendant has been charged by indictment with money laundering, in violation of 18

U.S.C. § 1956(a)(3)(B); wire fraud in violation of 18 U.S.C. § 1343; conspiracy to commit wire

fraud in violation of 18 U.S.C. §§ 1343 and 1349; conspiracy to operate an unlicensed money

transmitting business, in violation of 18 U.S.C. §§ 371, 1960(a), and (b)(1)(B); operation of an

unlicensed money transmitting business, in violation of 18 U.S.C. §§ 1960(a), (b)(1)(B), and (C);

and operating a continuing financial crimes enterprise, in violation of 18 U.S.C. § 225. For

operating a continuing financial crimes enterprise, the defendant faces a mandatory minimum

sentence of ten years and a maximum penalty of life imprisonment. The advisory guideline range

faced by the defendant is substantially above the mandatory 120-month sentence.

                             Nature and Circumstances of the Offense

       The FBI began investigating Freeman because it received various reports of different

scam proceeds being deposited into bank accounts in the name of Freeman and his affiliated

churches. In fact, the FBI identified victims across the country, in most of the 50 states, who said

that they were instructed by scammers to send money to Freeman, the Shire Free Church, or one

of Freeman’s co-conspirators or their churches. Many of them were instructed to write “church

donation” as the reason for their deposit or wire into accounts. Indeed, Freeman himself provided
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that instruction to many of his customers, including an undercover agent. When interviewed,

witnesses told agents they were not donating to a church but merely following instructions.

           To facilitate his business, Freeman opened accounts in the name of the Shire Free Church

and had co-conspirators open accounts in the names of the Church of the Invisible Hand, the

Reformed Satanic Church, and the Crypto Church of New Hampshire. In 2020, Freeman himself

registered yet another church, the NH Peace Church and opened bank accounts in that church’s

name too. 1 Because accounts were opened in the name of various churches, it appeared

reasonable to banks that deposits in the accounts would be for “church donations,” thus

explaining Freeman's instruction to his customers to make this notation on deposits.

           As recently as March 2021, the day that Freeman was arrested, the Postal Inspection

Service seized a package destined for the Shire Free Church and Freeman that contained $4,000

sent by an 80-year-old victim of an apparent romance scam. See Exhibit 1. Her story was similar

to the scores of stories that the FBI collected over the years of this investigation of scam victims

sending money to Freeman for bitcoin under the guise that it was being given to a church.

           The Government does not allege that Freeman conspired with these fraudsters to launder

proceeds although Freeman has made clear that he knew fraudsters used his service to support

their criminal activities. To avoid money laundering charges, Freeman emphasized to all of his

bitcoin customers that he did not want them to tell him how they got their money or what they

were going to do with their bitcoin. At the same time, he made sure to emphasize that he would

not collect any information about them or report their transactions to the government. Instead of

charging the two to three percent fee that legitimate cryptocurrency exchanges charge for their

service, Freeman charged three to five times that amount. Thus, with the wink-and-nod, Freeman



1
    Freeman failed to report anything about this church to the probation department.
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made sure that fraudsters knew that he was open to their business in exchange for their paying

him premium rates.

       Freeman's enterprise, moreover, was built on stealth and deception. According to

admissions found in his own email accounts, Freeman knew that banks would not open or

operate accounts for him if they knew the nature of his business and so he deliberately misled the

institutions with various statements not limited to the previously discussed “church donation”

lies. Sometimes, bitcoin purchases were described as “purchase of rare coins” all with the intent

to mislead. Thus, banks (at least for a while) believed that Freeman was a legitimate church

getting money from donations or other non-cryptocurrency activities. When the account activity,

showing an incredible volume deposits, eventually caused the bank to question Freeman, he

would try to obfuscate further before the bank would eventually shut his account. He would then

move on to another bank or have a confederate open an account in their name that he controlled.

       Freeman is also charged with money laundering. An undercover officer was introduced to

Freeman. The undercover officer told Freeman he was engaged in drug dealing, and Freeman

nevertheless allowed that officer to exchange cash for bitcoin at a virtual currency ATM he

operated for which he had disabled the anti-money laundering controls that are set as defaults on

such machines.

       For his operation of this scheme, and his use of others to do this, Freeman is charged with

operating a continuing financial crimes enterprise. He organized, managed, and supervised at

least three other people in committing a series of wire fraud violations with gross receipts over

five million dollars in a two-year period. The substantial penalty proscribed by this charge

provides him an incentive to flee.
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         During a search warrant executed in March, agents seized approximately $178,000 from

a safe in Freeman’s bedroom. Freeman explained that he had recently collected money from his

bitcoin ATMs (which he operated unlawfully) and had not yet been able to convert that cash to

cryptocurrency. Notably, despite his recently emptying them, his ATMs, seized during execution

of a warrant, contained almost $50,000 in additional cash deposits, underscoring again the

enormous amount of cash Freeman’s business regularly generated.

         Freeman has the financial resources to flee. Bank records indicate that Freeman’s

business received deposits of hundreds of thousands of dollars monthly. Taking a 5-15 percent

fee of this results in substantial profits to him. The government has identified approximately 28

bitcoin, the equivalent of about 1.6 million dollars, which Freeman can access. These funds are

outside the reach of investigators, virtually untraceable and can be accessed from anywhere in

the world. And it is quite likely that the government has not identified additional assets in

cryptocurrency that Freeman could use to finance his flight if released.

                                       Weight of the Evidence

         This is a strong case that has been the subject of a joint FBI, IRS, USPIS investigation for

almost five years. The government’s case rests on comprehensive electronic records and

extensive financial analysis. Search warrants for email accounts operated by Freeman, recordings

of Freeman, and thousands of pages of bank records and correspondence with banks and virtual

currency exchanges have been reviewed. Agents have interviewed numerous witnesses. This

substantial evidence was presented to a federal grand jury, which resulted in the return of the

instant indictment. In addition, more evidence was gathered at search warrants executed at

Freeman’s residence and forensic analysis of devices seized continues to produce additional

proof.
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       The charges are not, as Freeman claims, novel or untested in court. See United States v.

Lebedev, 932 F.3d 40 (2d Cir. 2019). The theory of the government’s case is quite simple—a

wire fraud conspiracy predicated on the defendant repeatedly lying to banks in order to induce

them to keep his accounts open so he could continue operating his business. He employed others

to do the same on his behalf. The money laundering charge is simple as well. He allowed an

undercover officer posing as a drug dealer to use his cryptocurrency ATM to convert dollars to

bitcoin. The defendant’s contention that, because this case involves cryptocurrency, it is

somehow different, is misleading. Cryptocurrency has been in widespread use for years and

Courts have regularly considered similar cases in other districts. See e.g., United States v.

Harmon, 474 F. Supp. 3d 76 (D. D.C. 2020) (collecting authority). Perhaps, the charge of

operating an unlicensed money services business is new to this district, but the issues have been

litigated elsewhere in support of the government's position here. Id.

                          History and Characteristics of this Defendant

       The defendant’s history raises concerns about his willingness to abide by conditions of

release. Although substantial time has passed, Freeman has convictions for obstructing

government administration, resisting arrest, and criminal contempt.

       Of more substantial concern are Freeman's material misrepresentations to the probation

office while it was preparing his bail report. He continued to tell the probation department that he

is paid by the church which is funded by donations. This is the same falsehood that Freeman

used to perpetrate his crimes.

       Most significantly, Freeman substantially underrepresented his financial holdings. He did

not report the vast amounts of virtual currency he holds. Emails from Freeman’s accounts

indicate he held assets including gold and silver and virtual currency of different types including
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ether dash, monero, and bitcoin. The government has not seized many of these assets, and he did

not report them. In 2018, at Freeman's request, an accountant provided a statement to a virtual

currency exchange indicating Freeman had $300,000 in US deposit accounts and $2.4 million in

various liquid assets.

       At the detention hearing, Freeman argued that he did not disclose these assets because he

was not specifically asked about them. At best, this is game playing by Freeman and not the type

of cooperation necessary to allow for the probation office to supervise him. At worst, it is a

deliberate attempt to obscure his assets. See United States v. Larry Dean Harmon, N.D. Ohio No.

20-mj-1030, ECF No. 9-2 (Feb. 12, 2020) (holding that failing to report virtual currency

amounted to a misrepresentation to probation). Freeman still has not disclosed these assets to the

probation department. Additionally, since the probation interview, the government has become

aware of at least one other bank account with a substantial balance that Freeman did not report.

He does not dispute that he was asked about funds in bank accounts.

       In addition, Freeman’s computers and devices were encrypted. His emails indicate that he

prefers to limit communication over what he called “open email” and instead to use encrypted

applications. While using encryption is not unlawful, it is relevant to the Court’s decision about

whether the defendant is amenable to supervision. This is someone who was not fully candid

with probation during the bail interview and who knows how to hide and obscure his activities.

                                    Danger to the Community

       Freeman also argues that he was aware of the FBI investigation and did not flee or alter

his behavior. Of course, the defendant was not aware of the full extent of the investigation,

including the introduction of the undercover officer and various other techniques. Regardless, his
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awareness of the investigation and continued operation of his unlawful business bodes against

his argument that he will abide by conditions if released.

       In addition, Freeman wrote on one occasion that he welcomed the government attack he

believed was coming, referring apparently to criminal charges he anticipated. Various of

Freeman’s associates have likewise characterized these charges in terms of a war or attack. Co-

defendant Nobody stated in a recent recorded telephone call that, “somebody needs to start

shooting pigs,” and “it’s time for the fuckin Boogaloo . . . that’s how this thing ends. When we

end this fucking government.” This rhetoric raises substantial concerns about dangerousness.

       In addition, Freeman’s release poses a danger of additional financial harm being inflicted

on new scam victims if he were to continue to operate his business. Substantial portions of this

business occurred on encrypted platforms, using currency that is difficult to trace, making

monitoring of these activities difficult. There are no conditions that could assure Freeman would

be unable to continue to operate the business that, by his own admission, he continued to operate

for years despite knowing he was under FBI investigation.
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       III.      Conclusion

       For those reasons, the government respectfully requests that the Court order that the

defendant be detained pending trial.



April 22, 2021                                      Respectfully submitted,
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